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1                                UNITED STATES DISTRICT COURT

2                                      DISTRICT OF NEVADA

3       ENRIQUE LAGUNAS,
4                                                        2:18-cv-2039-MMD-CLB
                                     Plaintiff,
5         v.
                                                         ORDER
6      NEVADA STATE BOARD OF
       PRISON COMMISSIONERS, et al.
7

8                                Defendants.

9           The Office of the Attorney General did not accept service of process on behalf of

10   Francisco Sanchez, M.D. who is no longer an employee of the Nevada Department of

11   Corrections (ECF No. 16). However, the Attorney General has filed the last known address

12   of this defendant under seal (ECF No. 17). If plaintiff wishes to have the U.S. Marshal

13   attempt service on this defendant, he shall follow the instructions contained in this order.

14          The Clerk shall ISSUE a summons for the above-named defendant and send the

15   same to the U.S. Marshal with the address provided under seal (ECF No. 17). The Clerk

16   shall also SEND sufficient copies of the complaint (ECF No. 5), the screening order (ECF

17   No. 4), and this order to the U.S. Marshal for service on the defendant. The Clerk shall

18   SEND to plaintiff one USM-285 form. Plaintiff shall have until Monday, February 8, 2021,

19   to complete the USM-285 service form and return it to the U.S. Marshal, 400 South Virginia

20   Street, 2nd Floor, Reno, Nevada 89501.

21          If plaintiff fails to follow this order, the above-named defendant will be dismissed for

22   failure to complete service of process pursuant to Fed.R.Civ.P. 4(m).

23           January 12, 2021
     DATED: __________________

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                                                  UNITED STATES MAGISTRATE JUDGE
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